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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ATLAS AIR, INC. and POLAR AIR CARGO
 WORLDWIDE, INC.,                                     Civil Action No. 1:17-cv-01953-RDM

                                Plaintiffs,
                v.

 INTERNATIONAL BROTHERHOOD OF
 TEAMSTERS; INTERNATIONAL
 BROTHERHOOD OF TEAMSTERS, AIRLINE
 DIVISION; and AIRLINE PROFESSIONALS
 ASSOCIATION OF THE INTERNATIONAL
 BROTHERHOOD OF TEAMSTERS, LOCAL
 UNION NO. 1224,


                                Defendants.


NOTICE TO THE COURT REGARDING SUPPLEMENTAL PLAINTIFFS’ EXHIBITS

       Pursuant to the Court’s November 27, 2017 instruction, Plaintiffs Atlas Air, Inc. and

Polar Air Cargo Worldwide, Inc. (collectively, “Plaintiffs”) hereby provide notice that they are

filing the attached Plaintiffs’ Exhibits 127 through 135, and 137 through 141, which were

introduced and admitted into evidence at the October 31 through November 2, 2017 preliminary

injunction hearing in this matter:


        Exhibit Number        Description of Exhibits

        PX-127                “CBA Temporary Pilot Retention Adjustments” Proposal
                              from the Union, dated December 5, 2014

        PX-128                “Framework Agreement” email from Local 1224, sent June
                              12, 2017

        PX-129                Local 1224’s “Grievance AAI-2016-015 Submission” dated
                              March 4, 2016




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PX-130         Atlas’ “Step 1 Decision ― Grievance AA-2016-015, dated
               March 31, 2016

PX-131         Local 1224’s “Grievance AAI-2017-004 Submission” dated
               February 21, 2017

PX-132         Atlas’ “Step 1 Decision ― Grievance AA-2017-004, dated
               March 23, 2017

PX-133         Local 1224’s “Grievance AAI-2017-004 Step 2
               Submission,” dated March 24, 2017

PX-134         Atlas’ “Step 2 Decision ― Grievance AA-2017-004,” dated
               May 4, 2017

PX-135         Local 1224’s “Submission to the Atlas Air System Board of
               Adjustment: Grievance No. AAI-2017-004,” dated May 5,
               2017

PX-137         Inaugural ATAM Communication (Transcript) 1-15-15


PX-138         Flight Reservation, San Francisco to Houston; hotel
               reservation

PX-139         Email from Atlas employee S. Sattar to Atlas pilot J.
               Campbell regarding “Travel reservation Campbell/J 13
               July,” sent July 13, 2017
PX-140         “Further Robustness Test of Mr. Akins’s Exhibit 18
               Including 2015 Dummy Variable” Slide

PX-141         “Percent of Fatigue Calls by Pilot Cohort, 6 Months Ending
               August 2017” Slide




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Dated:   November 27, 2017          Respectfully submitted,
         Washington, D.C.

                                    By:       /s/ Robert A. Siegel
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